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                                                                          Clerk’s Office
                                                                          Filed Date: 11/23/21

                                                                          U.S. DISTRICT COURT
   UNITED STATES DISTRICT COURT                                           EASTERN DISTRICT OF
                                                                          NEW YORK
   SOUTHERN DISTRICT OF NEW YORK                                          BROOKLYN OFFICE
   ______________________________________________

    GILEAD SCIENCES, INC., GILEAD SCIENCES
    IRELAND UC, and GILEAD SCIENCES, LLC,

                                   Plaintiffs,      Civil Action: 21-cv-4106

                                                 UNDER SEAL [AMD][RER]

                      Plaintiff,

               -against-                            VERIFIED ANSWER

   SAFE CHAIN SOLUTIONS, LLC; PATRICK BOYD;
   CHARLES BOYD; WORLDWIDE PHARMA SALES
   GROUP, INC. d/b/a PHARMASALES.COM; ADAM S.
   BROSIUS; BOULEVARD 9229 LLC; ISHBA Y SHUKUROV;
   PETER KHAIM; ZAFAR ABDULLAEV; PROPHARMA
   DISTRIBUTION LLC; LEVI ELLIS; SYNERGY GROUP
   WHOLESALERS LLC; CARLOS VEGA; ISLAND CHEMISTS, INC.
    d/b/a MEADOW DRUGS & SURGICAL; RANDOLPH
   MOHABIR; V.L.S. PHARMACY INC.; GOPESH M. PATEL;
   LIN PHARMACY INC. d/b/a MAKKI PHARMACY;
   SAMUEL YAKUBOV; MONICA A. NGO;
   ASCENSION PHARMACY HOLDINGS I LLC d/b/a
   MERMAID RX AND ARIEL PHARMACY; ALEX GELBINOVICH;
   PAUL ROSELL; MEDCONNECT ENTERPRISES, LLC; DHRUV
   RALHAN; D&K HEALTHCARE SOLUTIONS LLC; VENKATA
   SRINIVAS MANNAVA; DSP CONSULTING INC.; JOHN
   PANAGIOTOPOULOS; MIKE ZANGARI; RICCARDO MASSANA;
   STREAMLINE RX LLC; PAV AN MANTRIPRAGADA;
   MFK MANAGEMENT LLC d/b/a BOULEY ARD 9229 &
   9229 BOULEY ARD; MAKE IT HAPPEN MARKETING INC.;
   QUAN HERNANDEZ; SCRIPTS WHOLESALE INC.;
   STEVEN DIAMANTSTEIN; USDV PHARMA LLC;
   NER250 LLC d/b/a SCRIPTS WHOLESALE; JEFFREYS. BEETLEY;
   MARYLAND PHARMACIES INC. d/b/a THE MEDICINE SHOPPE #1802;
   PRIMERX INC.; SEKAR VENKA TESH; OMOM
   PHARMACEUTICALS INC.; OMOM WHOLESALE CORP.; GUSTAVO
   FERNANDEZ; LUIS D. GONZALEZ HERRERO; JORDAN RODRIGUEZ
   MATO; INVICTA WHOLESALE SUPPLY LLC; JORGE CABA;
    RXWHOLESALE.COM LLC; GABRIEL BETESH; CHARLES BREE;
    DANIEL GELBINOVICH; CESAR CASTILLO WHOLESALERS LLC f/k/a
   CESAR CASTILLO LLC; DNS DISTRIBUTOR LLC; JULIO
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   MARTIN GONZALEZ; PHARMA PAC WHOLESALE CORP.;
   ANGEL TORAL; GENTEK LLC; EDEL REYES; RAPID'S TEX
   WHOLE SALES CORP; JOHN SANTOS; TITAN DISTRIBUTION & SERVICES LLC;
   TIDY GARAGES L.L.C.; GABRIEL DELGADO RAMIREZ;
   CM PHARMACEUTICAL LLC; JEFFREY W. GAFNEA;
   ROBERT W. GAFNEA; JM SMITH DISTRIBUTION CORP.;
   CARLOS HERNANDEZ; ASB WHOLESALE DISTRIBUTORS LLC;
   SIL VERLINE PHARMA LOGISTICS LLC; and ALBERTO ALONSO DIAZ,

                                   Defendants.

   _____________________________________________


   Defendant, ALEX GELBINOVICH by his attorney, LEO SHALIT, PC, as and for a response to

   Plaintiff!s Second Amended Complaint responds as follows, upon information and belief, under

   the penalties of perjury.:

           1.      Defendant denies the allegations contained in Paragraph 1 of the Complaint.


           2.      Defendant denies the allegations contained in Paragraph 2 of the Complaint


           3.      Defendant denies knowledge or information sufficient to form a belief as to the

           truth of the allegations contained in Paragraph 3 of the Complaint.


           4.      Defendant denies the allegations contained in Paragraph 4 of the Complaint.


           5.      Defendant denies the allegations contained in Paragraph 5 of the Complaint.


           6.      Defendant denies the allegations contained in Paragraph 6 of the Complaint.


           7.      Defendant denies knowledge sufficient to form a belief as to the truth of the

           allegations contained in Paragraph 7 of the Complaint, but Defendant denies the

           allegations as they pertain to Answering Defendant.




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        8.     Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 8 of the Complaint.


        9.     Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 9 of the Complaint.


        10.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 10 of the Complaint.


        11.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 11 of the Complaint.


        12.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 12 of the Complaint.


        13.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 13 of the Complaint.


        14.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 14 of the Complaint.


        15.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 15 of the Complaint.


        16.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 16 of the Complaint.


        17.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 17 of the Complaint.


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        18.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 18 of the Complaint.


        19.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 19 of the Complaint.


        20.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 20 of the Complaint.


        21.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 21 of the Complaint.


        22.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 22 of the Complaint.


        23.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 23 of the Complaint.


        24.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 24 of the Complaint.


        25.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 25 of the Complaint.


        26.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 26 of the Complaint.


        27.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 27 of the Complaint.


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        28.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 28 of the Complaint.


        29.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 29 of the Complaint.


        30.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 30 of the Complaint.


        31.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 31 of the Complaint.


        32.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 32 of the Complaint.


        33.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 33 of the Complaint but admits that

        Defendant Alex Gelbinovich was employed by Ascension Pharmacy. Defendant denies

        the allegation related to being a New York resident at this time.


        34.    Defendant denies the allegations contained in Paragraph 34 of the Complaint.


        35.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 35 of the Complaint.


        36.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 36 of the Complaint.




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        37.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 37 of the Complaint.


        38.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 38 of the Complaint.


        39.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 39 of the Complaint.


        40.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 40 of the Complaint.


        41.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 41 of the Complaint.


        42.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 42 of the Complaint.


        43.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 43 of the Complaint.


        44.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 44 of the Complaint.


        45.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 45 of the Complaint.


        46.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 46 of the Complaint.


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        47.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 47 of the Complaint.


        48.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 48 of the Complaint.


        49.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 49 of the Complaint.


        50.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 50 of the Complaint.


        51.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 51 of the Complaint.


        52.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 52 of the Complaint.


        53.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 53 of the Complaint.


        54.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 54 of the Complaint.


        55.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 55 of the Complaint.


        56.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 56 of the Complaint.


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        57.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 57 of the Complaint.


        58.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 58 of the Complaint.


        59.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 59 of the Complaint.


        60.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 60 of the Complaint.


        61.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 61 of the Complaint.


        62.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 62 of the Complaint.


        63.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 63 of the Complaint.


        64.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 64 of the Complaint.


        65.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 65 of the Complaint.


        66.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 66 of the Complaint.


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        67.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 67 of the Complaint.


        68.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 68 of the Complaint.


        69.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 69 of the Complaint.


        70.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 70 of the Complaint.


        71.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 71 of the Complaint.


        72.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 72 of the Complaint.


        73.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 73 of the Complaint.


        74.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 74 of the Complaint.


        75.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 75 of the Complaint.


        76.    Defendant denies knowledge or information sufficient to form a belief as to the

        truth of the allegations contained in Paragraph 76 of the Complaint.


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         77.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 77 of the Complaint.


         78.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 78 of the Complaint.


         79.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 79 of the Complaint.


         80.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 80 of the Complaint.


         81.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 81 of the Complaint.


         82.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 82 of the Complaint.


         83.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 83 of the Complaint.


         84.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 84 of the Complaint.


         85.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 85 of the Complaint.


         86.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 86 of the Complaint.


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         87.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 87 of the Complaint.


         88.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 88 of the Complaint.


         89.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 89 of the Complaint.


         90.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 90 of the Complaint as to the Co-

         Defendant. Answering Defendant denies being a New York resident at this juncture and

         denies the allegations as they pertain to him.


         91.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 91 of the Complaint.


         92.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 92 of the Complaint as to the Co-

         Defendants but admits that he worked in New York but denies the remainders of the

         allegations.


         93.    Defendant denies the allegations contained in Paragraph 93 of the Complaint.


         94.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 94 of the Complaint.


         95.    Defendant denies the allegations contained in Paragraph 95 of the Complaint.


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         96.    Defendant denies the allegations contained in Paragraph 96 of the Complaint.


         97.    Defendant denies the allegations contained in Paragraph 97 of the Complaint.


         98.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 98 of the Complaint.


         99.    Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 99 of the Complaint.


         100.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 100 of the Complaint.


         101.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 101 of the Complaint.


         102.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 102 of the Complaint.


         103.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 103 of the Complaint.


         104.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 104 of the Complaint.


         105.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 105 of the Complaint.




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         106.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 106 of the Complaint.


         107.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 107 of the Complaint.


         108.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 108 of the Complaint.


         109.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 109 of the Complaint.


         110.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 110 of the Complaint.


         111.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 111 of the Complaint.


         112.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 112 of the Complaint.


         113.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 113 of the Complaint.


         114.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 114 of the Complaint.


         115.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 115 of the Complaint.


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         116.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 116 of the Complaint.


         117.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 117 of the Complaint.


         118.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 118 of the Complaint.


         119.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 119 of the Complaint.


         120.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 120 of the Complaint.


         121.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 121 of the Complaint.


         122.   Defendant denies the allegations contained in Paragraph 122 of the Complaint.


         123.   Defendant denies the allegations contained in Paragraph 123 of the Complaint.


         124.   Defendant denies the allegations contained in Paragraph 124 of the Complaint.


         125.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 125 of the Complaint.




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         126.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 126 of the Complaint, but Defendant

         denies the allegations contained herein as they pertain to Answering Defendant.


         127.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 127 of the Complaint.


         128.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 128 of the Complaint.


         129.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 129 of the Complaint.


         130.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 130 of the Complaint.


         131.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 131 of the Complaint.


         132.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 132 of the Complaint.


         133.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 133 of the Complaint.


         134.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 134 of the Complaint.




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         135.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 135 of the Complaint.


         136.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 136 of the Complaint.


         137.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 137 of the Complaint.


         138.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 138 of the Complaint.


         139.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 139 of the Complaint.


         140.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 140 of the Complaint.


         141.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 141 of the Complaint.


         142.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 142 of the Complaint.


         143.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 143 of the Complaint.


         144.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 144 of the Complaint.


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         145.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 145 of the Complaint.


         146.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 146 of the Complaint.


         147.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 147 of the Complaint.


         148.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 148 of the Complaint.


         149.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 149 of the Complaint.


         150.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 150 of the Complaint.


         151.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 151 of the Complaint.


         152.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 152 of the Complaint.


         153.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 153 of the Complaint.


         154.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 154 of the Complaint.


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         155.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 155 of the Complaint.


         156.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 156 of the Complaint.


         157.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 157 of the Complaint.


         158.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 158 of the Complaint.


         159.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 159 of the Complaint.


         160.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 160 of the Complaint.


         161.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 161 of the Complaint.


         162.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 162 of the Complaint.


         163.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 163 of the Complaint.


         164.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 164 of the Complaint.


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         165.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 165 of the Complaint.


         166.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 166 of the Complaint.


         167.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 167 of the Complaint.


         168.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 168 of the Complaint.


         169.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 169 of the Complaint.


         170.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 170 of the Complaint.


         171.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 171 of the Complaint.


         172.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 172 of the Complaint.


         173.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 173 of the Complaint.


         174.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 174 of the Complaint.


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         175.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 175 of the Complaint.


         176.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 176 of the Complaint.


         177.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 177 of the Complaint.


         178.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 178 of the Complaint.


         179.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 179 of the Complaint.


         180.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 180 of the Complaint.


         181.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 181 of the Complaint.


         182.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 182 of the Complaint.


         183.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 183 of the Complaint.


         184.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 184 of the Complaint.


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         185.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 185 of the Complaint.


         186.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 186 of the Complaint.


         187.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 187 of the Complaint.


         188.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 188 of the Complaint.


         189.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 189 of the Complaint.


         190.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 190 of the Complaint.


         191.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 191 of the Complaint.


         192.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 192 of the Complaint.


         193.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 193 of the Complaint.


         194.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 194 of the Complaint.


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         195.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 195 of the Complaint.


         196.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 196 of the Complaint.


         197.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 197 of the Complaint.


         198.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 198 of the Complaint.


         199.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 199 of the Complaint.


         200.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 200 of the Complaint.


         201.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 201 of the Complaint.


         202.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 202 of the Complaint.


         203.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 203 of the Complaint.


         204.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 204 of the Complaint.


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         205.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 205 of the Complaint.


         206.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 206 of the Complaint.


         207.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 207 of the Complaint.


         208.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 208 of the Complaint.


         209.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 209 of the Complaint.


         210.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 210 of the Complaint.


         211.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 211 of the Complaint.


         212.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 212 of the Complaint.


         213.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 213 of the Complaint.


         214.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 214 of the Complaint.


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         215.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 215 of the Complaint.


         216.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 216 of the Complaint.


         217.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 217 of the Complaint.


         218.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 218 of the Complaint.


         219.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 219 of the Complaint.


         220.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 220 of the Complaint.


         221.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 221 of the Complaint.


         222.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 222 of the Complaint.


         223.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 223 of the Complaint.


         224.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 224 of the Complaint.


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         225.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 225 of the Complaint.


         226.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 226 of the Complaint.


         227.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 227 of the Complaint.


         228.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 228 of the Complaint.


         229.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 229 of the Complaint.


         230.   Defendant denies the allegations contained in Paragraph 230 of the Complaint as

         they pertain to Answering Defendant. Defendant denies knowledge sufficient to form a

         belief as to the truth of the remaining allegations contained herein.


         231.   Defendant denies the allegations contained in Paragraph 231 of the Complaint as

         they pertain to Answering Defendant. Defendant denies knowledge sufficient to form a

         belief as to the truth of the remaining allegations contained herein.


         232.   Defendant denies the allegations contained in Paragraph 232 of the Complaint as

         they pertain to Answering Defendant. Defendant denies knowledge sufficient to form a

         belief as to the truth of the remaining allegations contained herein.




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         233.   Defendant denies the allegations contained in Paragraph 233 of the Complaint as

         they pertain to Answering Defendant. Defendant denies knowledge sufficient to form a

         belief as to the truth of the remaining allegations contained herein.


         234.   Defendant denies the allegations contained in Paragraph 234 of the Complaint as

         they pertain to Answering Defendant. Defendant denies knowledge sufficient to form a

         belief as to the truth of the remaining allegations contained herein.


         235.   Defendant denies the allegations contained in Paragraph 235 of the Complaint as

         they pertain to Answering Defendant. Defendant denies knowledge sufficient to form a

         belief as to the truth of the remaining allegations contained herein.


         236.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 236 of the Complaint.


         237.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 237 of the Complaint.


         238.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 238 of the Complaint.


         239.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 239 of the Complaint.


         240.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 240 of the Complaint.




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         241.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 241 of the Complaint.


         242.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 242 of the Complaint.


         243.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 243 of the Complaint.


         244.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 244 of the Complaint.


         245.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 245 of the Complaint.


         246.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 246 of the Complaint.


         247.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 247 of the Complaint.


         248.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 248 of the Complaint.


         249.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 249 of the Complaint.


         250.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 250 of the Complaint.


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         251.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 251 of the Complaint.


         252.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 252 of the Complaint.


         253.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 253 of the Complaint.


         254.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 254 of the Complaint.


         255.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 255 of the Complaint.


         256.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 256 of the Complaint.


         257.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 257 of the Complaint.


         258.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 258 of the Complaint.


         259.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 259 of the Complaint.


         260.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 260 of the Complaint.


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         261.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 261 of the Complaint.


         262.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 262 of the Complaint.


         263.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 263 of the Complaint.


         264.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 264 of the Complaint.


         265.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 265 of the Complaint.


         266.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 266 of the Complaint.


         267.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 267 of the Complaint.


         268.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 268 of the Complaint.


         269.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 269 of the Complaint.


         270.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 270 of the Complaint.


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         271.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 271 of the Complaint.


         272.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 272 of the Complaint.


         273.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 273 of the Complaint.


         274.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 274 of the Complaint.


         275.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 275 of the Complaint.


         276.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 276 of the Complaint.


         277.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 277 of the Complaint.


         278.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 278 of the Complaint.


         279.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 279 of the Complaint.


         280.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 280 of the Complaint.


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         281.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 281 of the Complaint.


         282.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 282 of the Complaint.


         283.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 283 of the Complaint.


         284.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 284 of the Complaint.


         285.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 285 of the Complaint.


         286.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 286 of the Complaint.


         287.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 287 of the Complaint.


         288.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 288 of the Complaint.


         289.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 289 of the Complaint.


         290.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 290 of the Complaint.


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         291.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 291 of the Complaint.


         292.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 292 of the Complaint.


         293.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 293 of the Complaint.


         294.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 294 of the Complaint.


         295.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 295 of the Complaint.


         296.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 296 of the Complaint.


         297.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 297 of the Complaint.


         298.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 298 of the Complaint.


         299.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 299 of the Complaint.


         300.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 300 of the Complaint.


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         301.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 301 of the Complaint.


         302.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 302 of the Complaint.


         303.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 303 of the Complaint.


         304.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 304 of the Complaint.


         305.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 305 of the Complaint.


         306.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 306 of the Complaint.


         307.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 307 of the Complaint.


         308.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 308 of the Complaint.


         309.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 309 of the Complaint.


         310.   Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 310 of the Complaint. Defendant


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         reincorporates by reference its answers to the preceding paragraphs as if fully set forth

         herein.


         311.      Defendant denies the allegations contained in Paragraph 311 of the Complaint.


         312.      Defendant denies the allegations contained in Paragraph 312 of the Complaint.


         313.      Defendant denies the allegations contained in Paragraph 313 of the Complaint.


         314.      Defendant denies the allegations contained in Paragraph 314 of the Complaint.


         315.      Defendant denies the allegations contained in Paragraph 315 of the Complaint.


         316.      Defendant denies the allegations contained in Paragraph 316 of the Complaint.


         317.      Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 317 of the Complaint. Defendant

         reincorporates by reference its answers to the preceding paragraphs as if fully set forth

         herein.


         318.      Defendant denies the allegations contained in Paragraph 318 of the Complaint.


         319.      Defendant denies the allegations contained in Paragraph 319 of the Complaint.


         320.      Defendant denies the allegations contained in Paragraph 320 of the Complaint.


         321.      Defendant denies the allegations contained in Paragraph 321 of the Complaint.


         322.      Defendant denies the allegations contained in Paragraph 322 of the Complaint.


         323.      Defendant denies the allegations contained in Paragraph 323 of the Complaint.




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         324.      Defendant denies the allegations contained in Paragraph 324 of the Complaint.


         325.      Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 325 of the Complaint. Defendant

         reincorporates by reference its answers to the preceding paragraphs as if fully set forth

         herein.


         326.      Defendant denies the allegations contained in Paragraph 326 of the Complaint.


         327.      Defendant denies the allegations contained in Paragraph 327 of the Complaint.


         328.      Defendant denies the allegations contained in Paragraph 328 of the Complaint.


         329.      Defendant denies the allegations contained in Paragraph 329 of the Complaint.


         330.      Defendant denies the allegations contained in Paragraph 330 of the Complaint.


         331.      Defendant denies the allegations contained in Paragraph 331 of the Complaint.


         332.      Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 332 of the Complaint. Defendant

         reincorporates by reference its answers to the preceding paragraphs as if fully set forth

         herein.


         333.      Defendant denies the allegations contained in Paragraph 333 of the Complaint.


         334.      Defendant denies the allegations contained in Paragraph 334 of the Complaint.


         335.      Defendant denies the allegations contained in Paragraph 335 of the Complaint.


         336.      Defendant denies the allegations contained in Paragraph 336 of the Complaint.


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         337.      Defendant denies the allegations contained in Paragraph 337 of the Complaint.


         338.      Defendant denies the allegations contained in Paragraph 338 of the Complaint.


         339.      Defendant denies the allegations contained in Paragraph 339 of the Complaint.


         340.      Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 340 of the Complaint. Defendant

         reincorporates by reference its answers to the preceding paragraphs as if fully set forth

         herein.


         341.      Defendant denies the allegations contained in Paragraph 341of the Complaint.


         342.      Defendant denies the allegations contained in Paragraph 342 of the Complaint.


         343.      Defendant denies the allegations contained in Paragraph 343 of the Complaint.


         344.      Defendant denies the allegations contained in Paragraph 344 of the Complaint.


         345.      Defendant denies the allegations contained in Paragraph 345 of the Complaint.


         346.      Defendant denies the allegations contained in Paragraph 346 of the Complaint.


         347.      Defendant denies the allegations contained in Paragraph 347 of the Complaint.


         348.      Defendant denies the allegations contained in Paragraph 348 of the Complaint.


         349.      Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 349 of the Complaint. Defendant

         reincorporates by reference its answers to the preceding paragraphs as if fully set forth

         herein.


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         350.      Defendant denies the allegations contained in Paragraph 350 of the Complaint.


         351.      Defendant denies the allegations contained in Paragraph 351 of the Complaint.


         352.      Defendant denies the allegations contained in Paragraph 352 of the Complaint.


         353.      Defendant denies the allegations contained in Paragraph 353 of the Complaint.


         354.      Defendant denies the allegations contained in Paragraph 354 of the Complaint.


         355.      Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 355 of the Complaint. Defendant

         reincorporates by reference its answers to the preceding paragraphs as if fully set forth

         herein.


         356.      Defendant denies the allegations contained in Paragraph 356 of the Complaint.


         357.      Defendant denies the allegations contained in Paragraph 357 of the Complaint.


         358.      Defendant denies the allegations contained in Paragraph 358 of the Complaint.


         359.      Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 359 of the Complaint. Defendant

         reincorporates by reference its answers to the preceding paragraphs as if fully set forth

         herein.


         360.      Defendant denies the allegations contained in Paragraph 360 of the Complaint.


         361.      Defendant denies the allegations contained in Paragraph 361 of the Complaint.


         362.      Defendant denies the allegations contained in Paragraph 362 of the Complaint.


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         363.      Defendant denies the allegations contained in Paragraph 363 of the Complaint.


         364.      Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 364 of the Complaint. Defendant

         reincorporates by reference its answers to the preceding paragraphs as if fully set forth

         herein.


         365.      Defendant denies the allegations contained in Paragraph 365 of the Complaint.


         366.      Defendant denies the allegations contained in Paragraph 366 of the Complaint.


         367.      Defendant denies the allegations contained in Paragraph 367 of the Complaint.


         368.      Defendant denies the allegations contained in Paragraph 368 of the Complaint.


         369.      Defendant denies the allegations contained in Paragraph 369 of the Complaint.


         370.      Defendant denies the allegations contained in Paragraph 370 of the Complaint.


         371.      Defendant denies the allegations contained in Paragraph 371 of the Complaint.


         372.      Defendant denies the allegations contained in Paragraph 372 of the Complaint.


         373.      Defendant denies the allegations contained in Paragraph 373 of the Complaint.


         374.      Defendant denies the allegations contained in Paragraph 374 of the Complaint.


         375.      Defendant denies the allegations contained in Paragraph 375 of the Complaint.


         376.      Defendant denies the allegations contained in Paragraph 376 of the Complaint.


         377.      Defendant denies the allegations contained in Paragraph 377 of the Complaint.



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         378.      Defendant denies the allegations contained in Paragraph 378 of the Complaint.


         379.      Defendant denies the allegations contained in Paragraph 379 of the Complaint.


         380.      Defendant denies the allegations contained in Paragraph 380 of the Complaint.


         381.      Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 381 of the Complaint.


         382.      Defendant denies knowledge or information sufficient to form a belief as to the

         truth of the allegations contained in Paragraph 382 of the Complaint. Defendant

         reincorporates by reference its answers to the preceding paragraphs as if fully set forth

         herein.


         383.      Defendant denies the allegations contained in Paragraph 383 of the Complaint.


         384.      Defendant denies the allegations contained in Paragraph 384 of the Complaint.


         385.      Defendant denies the allegations contained in Paragraph 385 of the Complaint.


         386.      Defendant denies the allegations contained in Paragraph 386 of the Complaint.


         387.      Defendant denies the allegations contained in Paragraph 387 of the Complaint.


         388.      Defendant denies the allegations contained in Paragraph 388 of the Complaint.


         389.      Defendant denies the allegations contained in Paragraph 389 of the Complaint.


         390.      Defendant denies the allegations contained in Paragraph 390 of the Complaint.




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          391.      Defendant denies knowledge or information sufficient to form a belief as to the

          truth of the allegations contained in Paragraph 391 of the Complaint. Defendant

          reincorporates by reference its answers to the preceding paragraphs as if fully set forth

          herein.


          392.      Defendant denies the allegations contained in Paragraph 392 of the Complaint.


          393.      Defendant denies the allegations contained in Paragraph 393 of the Complaint.


          394.      Defendant denies the allegations contained in Paragraph 394 of the Complaint.


          395.      Defendant denies the allegations contained in Paragraph 395 of the Complaint.


          396.      Defendant denies the allegations contained in Paragraph 396 of the Complaint.


          397.      Defendant denies the allegations contained in Paragraph 397 of the Complaint.


          398.      Defendant denies the allegations contained in Paragraph 398 of the Complaint.


          399.      Defendant denies the allegations contained in Paragraph 399 of the Complaint.


          400.      Defendant denies the allegations contained in Paragraph 400 of the Complaint.


          Any Allegations Not Specifically Addressed Are Denied. All Allegations and Demands in

   the “Wherefore” and “Prayer For Relief” are denied. Further, all questions of law are referred to

   this Honorable Court.


                                  FIRST AFFIRMATIVE DEFENSE

          Plaintiff failed to state a claim upon which relief can be granted against the Answering

   Defendant



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                                  SECOND AFFIRMATIVE DEFENSE


          Any alleged damage to Plaintiff was caused in whole and/or in part by the acts of others
   over whom the Answering Defendant exercised no control.
                                 THIRD AFFIRMATIVE DEFENSE

           Defendant hereby gives notice that it intends to reply upon such other and further
   defenses as may become available or apparent during discovery in this case, and thus, it reserves
   the right to amend it Answer to assert any such defenses.

            FIRST CROSS-CLAIM AGAINST DEFENDANTS SAFE CHAIN
         . SOLUTIONS, LLC FOR CONTRIBUTION AN INDEMNIFICATION

   1. Pursuant to Federal Rule of Civil Procedure rule 13(g), if Answering Defendant is found liable

     to Plaintiffs, then Defendant Safe Chain Solutions, LLC (“Safechain”) is liable for all of the

     claims asserted against the Answering Defendants. This cross-claim in corporates by reference

     all of the allegations made against Safe Chain in the main complaint.

   2. Safe Chain is accused in the main complaint of, among other things, purchasing and/or

     creating counterfeit versions of Plaintiff’s HIV/AID medicine.

   3. Safe Chain is alleged to have knowingly sold the counterfeit medications to the Answering

     Defendant.

   4. This includes , inter alia, allegations that Plaintiff’s medication bottles were used but foreign

     tablets were placed in to these bottles and the bottles were intentional engineered to look like

     authentic Giliead brand medication.

   5. Safe Chain is also accused of manufacturing the documentations that provided the drugs

     pedigree to make it seem like it came directly from Gilead or Gilead authorized distributors

   6. If the Answering Defendant sold counterfeit Gilead medication as alleged in the complaint,

     which allegations is denied, then it did so because Safe Chain knowingly and willfully



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     provided false and manufactured bottles with counterfeit medication and provided

     documentation that provided a false pedigree which caused the Answering Defendant to

     unknowingly receive and dispenses said medication, said act which is denied.

   7. If Safe Chain acted as alleged in the Complaint, then the Answering Defendant reasonably

     relied on Safe Chains’s documentation and pedigree when purchasing any such medication

   8. If the Answering Defendant is liable to Plaintiffs, the the Answering Defendant are entitled to

     indemnification and contribution from Safe Chain due to its culpable conduct as against the

     Answering Defendant.

   9. Moreover, Safe Chain must indemnify and defendant the Answering Defendant.

   WHEREFORE, by reason of the foregoing, SafeChain is liable to the Answering Defendant for

   indemnification and contribution for any damages awarded in this lawsuit to Plaintiff from the

   Answering Defendant, attorney’s fees together with interest and costs.

    SECOND CROSS-CLAIM AGAINST DEFENDANT SAFE CHAIN FOR FRAUD IN THE:
               INDUCEMENT, FRADULENT MISREPRESENTATION
                     AND COMMON LAW FRAUD

   10. Answering Defendants repent and reallege every allegation above in its First Cross-Claim as

     if fully set forth herein.

   11. If the allegations in the main complaint made by Plaintiffs against Sale Chain are true; Safe

     Chain made intentional misrepresentations of fact, and material misrepresentations as to the

     legitimacy of the allegedly counterfeit Gilead medication and its pedigree, which were false

     and known to be false (or should have been known to be false) by Safe Chain, and made to

     induce answering defendant to rely upon them, and answering defendant did justifiably rely on

     those allegedly false statements and misrepresentations.



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   12. If Plaintiff’s allegations against Safe Chain are true, then Safe Chain's material

     misrepresentations were made to induce the Answering Defendants to purchase the allegedly

     counterfeit medication.

   13.This caused injury and potential injury in the form of the cost of this lawsuit, any and all

     liability found and damages paid to plaintiffs in this lawsuit and loss of reputation to

     Answering Defendant's with its customers and the public.

   14.If the Complaint's allegations against Safe Chain are true, then Safe Chain's conduct was

     willfull, intentional, and grossly inappropriate and an award of both compensatory and

     punitive damages is appropriate.

   WHEREFORE, by reason of the foregoing, Safe Chain is liable to Answering Defendant for

   compensatory damages and for punitive damages, in an amount to be determined at trial,

   together with interest and costs.

                                       DEMAND FOR JURY TRIAL


          Wherefore, the Answering Defendant demands judgement dismissing the allegations

   made against them in the Second Amended Complaint, together with costs, granting of its first

   and second cross-claim against Safe Chain Solutions, LLC together with indemnification ,

   contribution, attorney’s fees, interest and compensatory and punitive damages.




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       WHEREFORE, Defendant hereby demands judgment as follows:
              a. That the Complaint be dismissed in its entirety.
              b. That this Court grant such other further and different relief as may be just and
                  proper.
   Dated: November 23, 2021
                                                Very truly yours,



                                                ___LEO SHALIT____/LS/_______________
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                                                Attorneys for Defendant - Alex Gelbinovich
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   To: See attached Certificate of Service




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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
    --------------------------------------------------------------------------X
     GILEAD SCIENCES, INC., GILEAD SCIENCES :
     IRELAND UC, and GILEAD SCIENCES, LLC,                                      :
                                                                                :
                                                          Plaintiffs,
                                                                                :
                                                                                :   Civil Action: 21-cv-4106
                                     -against-                                      [AMD][RER]
                                                                                :
     SAFE CHAIN SOLUTIONS, LLC; PATRICK BOYD; :
     CHARLES BOYD; WORLDWIDE PHARMA SALES :                                         UNDER SEAL
     GROUP, INC. d/b/a PHARMASALES.COM; et al.,                                 :
                                                                                :
                                                          Defendants.           :
    --------------------------------------------------------------------------X :




   ______________________________________________________________________________


                                              VERIFIED ANSWER

   ______________________________________________________________________________




                                              LEO SHALIT, PC
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                                           Manhasset, New York 11030
                                                 646.957.0009




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                           CERTIFICATE OF SERVICE
   I, Leo Shalit counsel of record for Alex Gelbinovich, hereby certify that
   on November 23, 2021, I caused the foregoing Answer To Second
   Amended Complaint to be served upon all counsel in this matter via
   email and an original copy was mailed to the Clerk of the United States
   District Court for the Eastern District for entry.
                                            _/ls/______Leo Shalit,Esq._______________
                                            By: Leo Shalit, Esq


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